        Case 3:24-cv-00199-HZ   Document 1    Filed 01/30/24   Page 1 of 20




David S. Foster, OSB #033166
Dsfoster69@gmail.com
The Law Office of David S. Foster, P.C.
3353 SE Raymond Street
Portland, OR 97202-4360
(503) 927-6440
Attorney for Plaintiff


                    UNITED STATES DISTRICT COURT
                         DISTRICT OF OREGON
                         PORTLAND DIVISION


CONNER SLEVIN,                        Case No.     3:24-cv-0199
an individual,

       PLAINTIFF,
                                      COMPLAINT
v.

BURLINGAME GROUP, LLC,
a limited liability company,

        DEFENDANT.



                                 COMPLAINT

       Plaintiff Conner Slevin (“Slevin” or “Plaintiff”) hereby sues Defendant,

BURLINGAME GROUP, LLC, an active Oregon company, (hereinafter

“Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et

seq. (“ADA”), and its implementing regulations, the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                                                          COMPLAINT Page 1 of 20
        Case 3:24-cv-00199-HZ       Document 1     Filed 01/30/24   Page 2 of 20




                          PRELIMINARY STATEMENT

      1.     Though not required by the ADA, Plaintiff attempted to resolve this

matter prior to filing the present complaint but was unable to do so.

      2.     Defendant’s ADA violations create real and significant barriers to

entry for disabled persons such as Plaintiff. Pursuant to Title III of the ADA,

Plaintiff seeks declaratory and injunctive relief requiring Defendant to (1) remedy

the violations identified herein and (2) enact and adhere to a policy that ensures the

proper maintenance of the property to avoid future ADA violations.

                         JURISDICTION AND PARTIES

      3.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

§ 12181 et seq., based upon Defendant, BURLINGAME GROUP, LLC’s, failure to

remove physical barriers to access and violations of Title III of the ADA.

      4.     Venue is properly located in the DISTRICT COURT OF OREGON IN

THE PORTLAND DIVISION pursuant to 28 U.S.C. § 1391(b) because venue lies

in the judicial district of the property situs or the judicial district in which a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred.

The Defendant’s property is located in and does business within this judicial district

and all events giving rise to this lawsuit occurred in this judicial district.


                                                                COMPLAINT Page 2 of 20
        Case 3:24-cv-00199-HZ     Document 1     Filed 01/30/24   Page 3 of 20




      5.     Plaintiff, Conner Slevin, is and has been at all times relevant to the

instant matter, a natural person residing in Oregon and is sui juris.

      6.     Plaintiff is an individual with disabilities as defined by the ADA.

      7.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

      8.     Plaintiff uses a wheelchair for mobility purposes.

      9.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      10.    Defendant, BURLINGAME GROUP, LLC, is a limited liability

company conducting business in the State of Oregon and within this judicial district.




                                                              COMPLAINT Page 3 of 20
        Case 3:24-cv-00199-HZ     Document 1    Filed 01/30/24   Page 4 of 20




                          FACTUAL ALLEGATIONS

      11.    On or about September of 2022, Plaintiff attempted to but was deterred

from patronizing and/or gaining equal access as a disabled patron to the Plaid Pantry

Store located at 5414 SE Woodstock Blvd, Portland, OR 97206 (“Subject Facility”,

“Subject Property”).

      12.    BURLINGAME GROUP, LLC is the owner, lessor, and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the Plaid Pantry Store and its attendant facilities, including

vehicular parking and common exterior paths of travel within the site identified by

the Multnomah County Assessor parcel identification number R179013 (“Subject

Facility”, “Subject Property”).

      13.    Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on 5414 SE Woodstock Blvd, a Multnomah County

thoroughfare that he frequents routinely, he is routinely where the Subject Property

is located and travels in and about the immediate area of the Subject Property

numerous times every month, if not every week.

      14.    Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

                                                             COMPLAINT Page 4 of 20
        Case 3:24-cv-00199-HZ     Document 1     Filed 01/30/24   Page 5 of 20




Defendant, BURLINGAME GROUP, LLC, is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Subject Property,

including those set forth in this Complaint.

      15.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      16.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      17.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

                                                              COMPLAINT Page 5 of 20
        Case 3:24-cv-00199-HZ     Document 1     Filed 01/30/24   Page 6 of 20




possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

      18.    Plaintiff has a fundamental right as established under the ADA to

patronize any place of public accommodation as any person who is not disabled has.

      19.    Plaintiff’s day-to-day life has been negatively affected by the barriers

to entry at the Subject Property, as his fundamental right to patronize any place of

public accommodation at his choosing has been diminished by Defendant’s non-

compliance with the ADA.

      20.    Plaintiff has no obligation to only patronize places of public

accommodation that are ADA compliant.

      21.    If barriers to entry are not removed at the Subject Property, it will place

undue hardship, cause Plaintiff loss of opportunity, and unduly force Plaintiff to

“search” for a place of public accommodation to patronize that is ADA compliant.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      22.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      23.    The Subject Property is a public accommodation and service

establishment.
                                                              COMPLAINT Page 6 of 20
       Case 3:24-cv-00199-HZ      Document 1    Filed 01/30/24   Page 7 of 20




     24.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

     25.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     26.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     28.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

                                                             COMPLAINT Page 7 of 20
        Case 3:24-cv-00199-HZ       Document 1    Filed 01/30/24   Page 8 of 20




commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      29.       Defendant, BURLINGAME GROUP, LLC, has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.       Defendant, BURLINGAME GROUP, LLC, will continue to

discriminate against Plaintiff and others with disabilities unless and until

BURLINGAME GROUP, LLC is compelled to remove all physical barriers that

exist at the Subject Property, including those specifically set forth herein, and make

the Subject Property accessible to and usable by Plaintiff and other persons with

disabilities.

      31.       A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

                                                               COMPLAINT Page 8 of 20
       Case 3:24-cv-00199-HZ     Document 1     Filed 01/30/24   Page 9 of 20




limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:

                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)
            a. There is no van-accessible parking identified as such

               with upright “Van Accessible” signage in violation of

               Section 4.6 of the 1991 ADAAG and Sections 208, 302

               and 502 of the 2010 ADAAG. These violations made

               it dangerous for Plaintiff to utilize the parking facility

               at the Subject Property and caused Plaintiff loss of

               opportunity.

            b. The    visible    upright   signage    (displaying    the

               International Symbol of Accessibility) designating the

               parking space as accessible is mounted too low in

               violation of Section 4.6 of the 1991 ADAAG and

               Section 502 of the 2010 ADAAG. These violations

               made it dangerous for Plaintiff to utilize the parking

               facility at the Subject Property and caused Plaintiff loss

               of opportunity.



                                                             COMPLAINT Page 9 of 20
Case 3:24-cv-00199-HZ   Document 1      Filed 01/30/24   Page 10 of 20




    c. The paint delineating the designated accessible parking

       space and access aisle is not being maintained so that it

       clearly marks the accessible parking location in

       violation of 28 CFR § 36.211, Section 4.6 of the 1991

       ADAAG, and Section 502.3.3 of the 2010 ADAAG.

       These violations made it dangerous for Plaintiff to

       utilize the parking facility at the Subject Property and

       caused Plaintiff loss of opportunity.

    d. The purported designated accessible parking space is

       not level in all directions and has areas of uneven,

       broken, and cracked pavement because of Defendant’s

       history and practice of failing to inspect and maintain

       the parking surface in violation of 28 CFR § 36.211,

       Sections 4.5.1 and 4.6.3 of the 1991 ADAAG and

       Sections 302 and 502.4 of the 2010 ADAAG. These

       violations made it dangerous for Plaintiff to utilize the

       parking facility at the Subject Property and caused

       Plaintiff loss of opportunity.

    e. The purported accessible aisle is not level in all

       directions and has areas of uneven, broken, and cracked

                                                    COMPLAINT Page 10 of 20
Case 3:24-cv-00199-HZ   Document 1     Filed 01/30/24   Page 11 of 20




       pavement because of Defendant’s history and practice

       of failing to inspect and maintain the parking surface in

       violation of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3

       of the 1991 ADAAG and Sections 302 and 502.4 of the

       2010 ADAAG. These violations made it dangerous for

       Plaintiff to utilize the parking facility at the Subject

       Property and caused Plaintiff loss of opportunity.

    f. The curb ramp at the storefront curb serving the tenant

       space entrances at the Subject Property has runs with

       abrupt changes in level at the bottom transitions from

       the parking surface to the ramp in violation of Section

       4.3.8 of the 1991 ADAAG and Sections 303.3 and

       303.4 of the 2010 ADAAG. These violations made it

       dangerous for Plaintiff to utilize the parking facility at

       the Subject Property and caused Plaintiff loss of

       opportunity.

    g. There is no accessible route provided within the site

       from the public sidewalk which serves the Subject

       Facility. Violation: There is no accessible route

       connecting the public sidewalk serving the subject

                                                    COMPLAINT Page 11 of 20
Case 3:24-cv-00199-HZ    Document 1       Filed 01/30/24   Page 12 of 20




       facility and any accessible entrance(s) in violation of

       Section 4.3.2 of the 1991 ADAAG and Section 206.2.1

       of the 2010 ADAAG. These violations made it

       dangerous for Plaintiff to utilize the parking facility at

       the Subject Property and caused Plaintiff loss of

       opportunity.

                             (Interior)

    h. The sales counter is too high for wheelchair users.

       Violation: The sales counter exceeds the maximum

       allowable height of 36 inches from the finish floor in

       violation of Section 7.2 of the 1991 ADAAG and

       Sections 227.3 and 904.4 of the 2010 ADAAG. These

       violations made it dangerous for Plaintiff to patronize

       the Subject Property and caused Plaintiff loss of

       opportunity.

                  MAINTENANCE PRACTICES

    a. Defendant has a practice of failing to maintain the

       accessible features of the facility, creating barriers to

       access for the Plaintiff, as set forth herein, in violation

       of 28 CFR § 36.211. This practice prevented access to

                                                      COMPLAINT Page 12 of 20
Case 3:24-cv-00199-HZ   Document 1     Filed 01/30/24   Page 13 of 20




       the plaintiff equal to that of Defendant’s able-bodied

       customers causing Plaintiff loss of opportunity.

    b. Defendant has a practice of failing to maintain the

       accessible elements at the Subject Facility by

       neglecting their continuing duty to review, inspect, and

       discover transient accessible elements which by the

       nature of their design or placement, frequency of usage,

       exposure to weather and/or other factors, are prone to

       shift from compliant to noncompliant so that said

       elements may be discovered and remediated.

    c. Defendant has failed and continues to fail to alter their

       inadequate maintenance practices to prevent future

       recurrence of noncompliance with dynamic accessible

       elements at the Subject Facility in violation of 28 CFR

       § 36.211, the 1991 ADAAG, and the 2010 ADAAG.

       These violations, as set forth hereinabove, made it

       impossible for Plaintiff to experience the same access

       to the goods, services, facilities, privileges, advantages

       and accommodations of the Subject Facility as




                                                    COMPLAINT Page 13 of 20
       Case 3:24-cv-00199-HZ      Document 1     Filed 01/30/24   Page 14 of 20




                Defendant’s able-bodied patrons and caused Plaintiff

                loss of opportunity.

             d. Defendant has failed to modify their discriminatory

                maintenance practices to ensure that, pursuant to their

                continuing duty under the ADA, the Subject Property

                remains readily accessible to and usable by disabled

                individuals, including Plaintiff, as set forth herein, in

                violation of 28 CFR § 36.302 and 36.211. This failure

                by Defendant prevented access to the plaintiff equal to

                that of Defendant’s able-bodied customers causing

                Plaintiff loss of opportunity.

      32.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings or personal observation, Plaintiff has actual notice

                                                             COMPLAINT Page 14 of 20
       Case 3:24-cv-00199-HZ      Document 1    Filed 01/30/24   Page 15 of 20




that the Defendant does not intend to comply with the ADA.

      33.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting their continuing duty to review,

inspect, and discover transient accessible elements which by the nature of its design

or placement, frequency of usage, exposure to weather and/or other factors, are

prone to shift from compliant to noncompliant, so that said elements are discovered

and remediated. Defendant has failed and continues to fail to alter their inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      34.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      35.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

                                                             COMPLAINT Page 15 of 20
       Case 3:24-cv-00199-HZ      Document 1     Filed 01/30/24   Page 16 of 20




      36.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      38.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      39.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      40.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

                                                             COMPLAINT Page 16 of 20
       Case 3:24-cv-00199-HZ      Document 1    Filed 01/30/24   Page 17 of 20




      41.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprive Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      42.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for their places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      43.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, BURLINGAME GROUP, LLC, is required to remove

                                                              COMPLAINT Page 17 of 20
        Case 3:24-cv-00199-HZ      Document 1     Filed 01/30/24    Page 18 of 20




the physical barriers, dangerous conditions and ADA violations that exist at the

Subject Property, including those alleged herein. Considering the balance of

hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

      44.     Plaintiff’s requested relief serves the public interest.

      45.     Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees

and costs of litigation from Defendant, BURLINGAME GROUP, LLC, pursuant to

42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and

equal access to the subject premises, as provided by the ADA unless the injunctive

relief requested herein is granted.

      46.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill their continuing duty

to maintain the accessible features at the premises in the future as mandated by 28

CFR 36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.      That the Court find Defendant, BURLINGAME GROUP,

              LLC, in violation of the ADA and ADAAG;

      B.      That the Court enter an Order requiring Defendant,

                                                               COMPLAINT Page 18 of 20
 Case 3:24-cv-00199-HZ   Document 1      Filed 01/30/24   Page 19 of 20




     BURLINGAME GROUP, LLC, to (i) remove the physical

     barriers to access and (ii) alter the Subject Property to

     make the Subject Property readily accessible to and

     useable by individuals with disabilities to the full extent

     required by Title III of the ADA;

C.   That the Court enter an Order directing Defendant,

     pursuant to 28 C.F.R. §36.211, to fulfill their continuing

     duty to maintain their accessible features and equipment

     so that the facility remains accessible to and useable by

     individuals with disabilities to the full extent required by

     Title III of the ADA;

D.   That the Court enter an Order directing Defendant to

     implement and carry out effective policies, practices, and

     procedures to maintain the accessible features and

     equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.

     §36.211;

E.   That the Court enter an Order directing Defendant to

     evaluate and neutralize their policies and procedures

     towards persons with disabilities for such reasonable time

     so as to allow them to undertake and complete corrective

                                                     COMPLAINT Page 19 of 20
       Case 3:24-cv-00199-HZ    Document 1     Filed 01/30/24   Page 20 of 20




            procedures;

      F.    An award of attorneys’ fees, costs (including expert fees),

            and litigation expenses pursuant to 42 U.S.C. § 12205 and

            an award of monitoring fees associated with insuring that

            the Defendant is in compliance with the ADA;

      G.    An award of interest upon the original sums of said award

            of attorneys’ fees, costs (including expert fees), and other

            expenses of suit; and

      H.    Such other relief as the Court deems just and proper,

            and/or is allowable under Title III of the Americans with

            Disabilities Act.

Dated: January 30, 2024

                                Respectfully submitted,


                                By: /s/ David S. Foster
                                David S. Foster
                                Counsel for Plaintiff
                                OSB No. 033166
                                Telephone: 503-927-6440
                                Email: dsfoster69@gmail.com

DEFENDANT TO BE SERVED:
BURLINGAME GROUP, LLC




                                                           COMPLAINT Page 20 of 20
